               20-10389-dsj                         Doc 2              Filed 02/10/20 Entered 02/10/20 16:26:12                                                                    Main Document
                                                                                     Pg 1 of 16
 Fill in this information to identify the case:

 Debtor name            de GRISOGONO U.S.A. Inc.

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                          amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                      12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                     $           241,724.89

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                        $        2,997,793.25

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                       $        3,239,518.14


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                     $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                        $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                                +$      24,960,018.37


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                              $        24,960,018.37




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                    page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                                             Best Case Bankruptcy
              20-10389-dsj                 Doc 2          Filed 02/10/20 Entered 02/10/20 16:26:12                          Main Document
                                                                        Pg 2 of 16
 Fill in this information to identify the case:

 Debtor name          de GRISOGONO U.S.A. Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest
 2.         Cash on hand                                                                                                                                  $82.75



 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     Westchester Bank (Balance as of 1/31)                  Operating Account                4668                                 $220,461.30




            3.2.     Westchester Bank                                       Merchandise Account              4692                                           $0.00




            3.3.     Westchester Bank                                       Other Account                    3818                                           $0.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                  $220,544.05
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
              20-10389-dsj                 Doc 2          Filed 02/10/20 Entered 02/10/20 16:26:12                          Main Document
                                                                        Pg 3 of 16
 Debtor            de GRISOGONO U.S.A. Inc.                                                    Case number (If known)
                   Name




            7.1.     Security Deposit (Bicent Properties)                                                                                $30,000.00




            7.2.     Security Deposit (Con Ed)                                                                                             $3,380.00




            7.3.     Security Deposit (Pierre Hotel)                                                                                       $6,000.00




            7.4.     Security Deposit (Watermatic LLC)                                                                                       $100.00




            7.5.     Secuirty Deposit (Hotel 57 LLC - Four Season Hotel Vitrine)                                                           $4,000.00




            7.6.     Security Deposit (NV Sales and Use Tax)                                                                                 $486.00



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


            8.1.     Reimbursement of Custom Costs                                                                                      $864,507.47




            8.2.     Reimbursement of Other Prepayment Expenses (Insurance, etc.)                                                        $97,389.56




 9.         Total of Part 2.                                                                                                       $1,005,863.03
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                           316,968.96   -                                0.00 = ....               $316,968.96
                                              face amount                        doubtful or uncollectible accounts




            11b. Over 90 days old:                              687,039.25   -                       154,683.57 =....                  $532,355.68
                                              face amount                        doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
              20-10389-dsj                 Doc 2          Filed 02/10/20 Entered 02/10/20 16:26:12                           Main Document
                                                                        Pg 4 of 16
 Debtor         de GRISOGONO U.S.A. Inc.                                                         Case number (If known)
                Name


 12.       Total of Part 3.                                                                                                            $849,324.64
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

     No.    Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.
     Yes Fill in the information below.
           General description                        Date of the last           Net book value of      Valuation method used     Current value of
                                                      physical inventory         debtor's interest      for current value         debtor's interest
                                                                                 (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale
           Watches, Jewelry, Parts
           Inventory Based on
           1/31/20 Balance Sheet
           (Note: most or all of
           inventory may not be
           asset of the Debtor)                                                                $0.00                                       $504,391.05



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                            $504,391.05
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                                         Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:    Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 3
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
              20-10389-dsj                 Doc 2          Filed 02/10/20 Entered 02/10/20 16:26:12                     Main Document
                                                                        Pg 5 of 16
 Debtor         de GRISOGONO U.S.A. Inc.                                                      Case number (If known)
                Name


     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Miscellaneous Office Furniture                                                   $0.00                                       $99,500.38



 40.       Office fixtures
           Miscellaneous Display Materials                                                  $0.00                                      $196,781.40



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Miscellaneous IT Equipment                                                       $0.00                                         $4,270.73



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles
           42.1. Chandelier / Artwork                                                      $0.00                                       $117,117.97



 43.       Total of Part 7.                                                                                                           $417,670.48
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
     Yes Fill in the information below.

 Part 9:    Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used   Current value of
           property                                       extent of           debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
              20-10389-dsj                 Doc 2          Filed 02/10/20 Entered 02/10/20 16:26:12                    Main Document
                                                                        Pg 6 of 16
 Debtor         de GRISOGONO U.S.A. Inc.                                                     Case number (If known)
                Name

            55.1.    Leasehold
                     Improvements, 700
                     Madison Avenue, NY,                  Leasehold
                     NY 10065                             Improvements                      $0.00                                $241,724.89




 56.        Total of Part 9.                                                                                                   $241,724.89
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
     Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 5
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                              Best Case Bankruptcy
               20-10389-dsj                   Doc 2            Filed 02/10/20 Entered 02/10/20 16:26:12                                           Main Document
                                                                             Pg 7 of 16
 Debtor          de GRISOGONO U.S.A. Inc.                                                                            Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $220,544.05

 81. Deposits and prepayments. Copy line 9, Part 2.                                                             $1,005,863.03

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $849,324.64

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                             $504,391.05

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $417,670.48

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                        $241,724.89

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $2,997,793.25            + 91b.              $241,724.89


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $3,239,518.14




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 6
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
              20-10389-dsj                 Doc 2          Filed 02/10/20 Entered 02/10/20 16:26:12                    Main Document
                                                                        Pg 8 of 16
 Fill in this information to identify the case:

 Debtor name         de GRISOGONO U.S.A. Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                        12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

      No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
      Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                     page 1 of 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
              20-10389-dsj                 Doc 2          Filed 02/10/20 Entered 02/10/20 16:26:12                                              Main Document
                                                                        Pg 9 of 16
 Fill in this information to identify the case:

 Debtor name         de GRISOGONO U.S.A. Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                          Check if this is an
                                                                                                                                                             amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                             12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       Unknown       $0.00
           NYS Dept of Taxation & Finance                            Check all that apply.
           Office of Counsel, Building 9                              Contingent
           W A Harriman Campus                                        Unliquidated
           Albany, NY 12227                                           Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    Unknown
           American Archiving & Shredding                                           Contingent
           PO Box 767                                                               Unliquidated
           Orange, NJ 07051                                                         Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?      No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $8,602.68
           Arista Air Conditioning Corp.                                            Contingent
           38-26 Tenth Street                                                       Unliquidated
           Long Island City, NY 11101                                               Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Services Rendered
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?      No  Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                               page 1 of 5
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                   24111                                           Best Case Bankruptcy
              20-10389-dsj                 Doc 2          Filed 02/10/20 Entered 02/10/20 16:26:12                                        Main Document
                                                                       Pg 10 of 16
 Debtor       de GRISOGONO U.S.A. Inc.                                                                Case number (if known)
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $10,013.04
          Battalion PR, LLC                                                   Contingent
          307 Seventh Avenue                                                  Unliquidated
          New York, NY 10001                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Coffee Distributing Corp.                                           Contingent
          200 Broadway                                                        Unliquidated
          PO Box 766                                                          Disputed
          New Hyde Park, NY 11040-0604
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $222,498.03
          de Grisogono - Italy                                                Contingent
          Hotel de Russie, Via del Babui                                      Unliquidated
          Roma 9-00187                                                        Disputed
          Italy
                                                                             Basis for the claim:    Intercompany Note
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $1,705,934.51
          de Grisogono UK Ltd.                                                Contingent
          14A New Bond Street                                                 Unliquidated
          London W1S 3SX                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Intercompany Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $22,896,970.24
          de Grisogono, SA                                                    Contingent
          Chemin du Champ des Filles 39E                                      Unliquidated
          CH-1228 Plan-les-Ouates                                             Disputed
          Switzerland
                                                                             Basis for the claim:    Intercompany Note
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $735.00
          Distinctive Parking, LLC                                            Contingent
          35-39 East 61st Street                                              Unliquidated
          New York, NY 10065                                                  Disputed
          Date(s) debt was incurred Sept 2018
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Driesassur USA, LLC                                                 Contingent
          501 Fifth Avenue                                                    Unliquidated
          New York, NY 10017                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 2 of 5
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
              20-10389-dsj                 Doc 2          Filed 02/10/20 Entered 02/10/20 16:26:12                                        Main Document
                                                                       Pg 11 of 16
 Debtor       de GRISOGONO U.S.A. Inc.                                                                Case number (if known)
              Name

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $26,396.29
          Federal Express                                                     Contingent
          PO Box 371461                                                       Unliquidated
          Pittsburgh, PA 15250-7461                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $27,754.00
          Hearst Magazine                                                     Contingent
          PO Box 25883                                                        Unliquidated
          Lehigh Valley, PA 18002-5883                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,085.44
          John Shields Detective Agency                                       Contingent
          310 Fifth Avenue                                                    Unliquidated
          6th Floor                                                           Disputed
          New York, NY 10001
                                                                             Basis for the claim:    Services Rendered
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $562.50
          LEAF                                                                Contingent
          PO Box 644006                                                       Unliquidated
          Cincinnati, OH 45264-4006                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,164.97
          Liverpool Carting Co., Inc.                                         Contingent
          5 Bruckner Boulevard                                                Unliquidated
          Bronx, NY 10454                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $684.41
          Manhattan Fire & Safety Corp.                                       Contingent
          242 West 30th Street                                                Unliquidated
          7th Floor                                                           Disputed
          New York, NY 10001
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $100.00
          O&D Studio, Inc.                                                    Contingent
          31 West 47th Street                                                 Unliquidated
          Suite 709                                                           Disputed
          New York, NY 10036
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 3 of 5
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
              20-10389-dsj                 Doc 2          Filed 02/10/20 Entered 02/10/20 16:26:12                                        Main Document
                                                                       Pg 12 of 16
 Debtor       de GRISOGONO U.S.A. Inc.                                                                Case number (if known)
              Name

 3.17      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           Oxford Health Plans                                                Contingent
           PO Box 1697                                                        Unliquidated
           General Post Office                                                Disputed
           Newark, NJ 07101-1697
                                                                             Basis for the claim:    Trade Debt
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.18      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $85.50
           Pitney Bowes Global Financial                                      Contingent
           PO Box 371887                                                      Unliquidated
           Pittsburgh, PA 15250-7887                                          Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.19      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $786.69
           The Hartford                                                       Contingent
           PO Box 660916                                                      Unliquidated
           Dallas, TX 75266-0916                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $24,816.62
           The New York Times                                                 Contingent
           620 8th Avenue                                                     Unliquidated
           New York, NY 10018                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $30,261.32
           Travelers                                                          Contingent
           CL & Reimittance Center                                            Unliquidated
           PO Box 660317                                                      Disputed
           Dallas, TX 75266-0317
                                                                             Basis for the claim:    Trade Debt
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.22      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $210.00
           Tuvia U.S.A. Inc.                                                  Contingent
           PO Box 300746                                                      Unliquidated
           JFK Airport Station                                                Disputed
           Jamaica, NY 11430
                                                                             Basis for the claim:    Trade Debt
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.23      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $357.13
           Verizon                                                            Contingent
           PO Box 15124                                                       Unliquidated
           Albany, NY 12212-5124                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 4 of 5
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              20-10389-dsj                 Doc 2          Filed 02/10/20 Entered 02/10/20 16:26:12                                Main Document
                                                                       Pg 13 of 16
 Debtor       de GRISOGONO U.S.A. Inc.                                                           Case number (if known)
              Name

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                              On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                 related creditor (if any) listed?              account number, if
                                                                                                                                                any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                         0.00
 5b. Total claims from Part 2                                                                       5b.   +   $                24,960,018.37
 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                   24,960,018.37




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 5 of 5
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
              20-10389-dsj                 Doc 2          Filed 02/10/20 Entered 02/10/20 16:26:12                        Main Document
                                                                       Pg 14 of 16
 Fill in this information to identify the case:

 Debtor name         de GRISOGONO U.S.A. Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.         State what the contract or                  Security Monitoring
              lease is for and the nature of              Services
              the debtor's interest

                  State the term remaining
                                                                                     DGA Security
              List the contract number of any                                        429 W. 53rd Street
                    government contract                                              New York, NY 10019


 2.2.         State what the contract or                  Sublease for Retail
              lease is for and the nature of              Space
              the debtor's interest

                  State the term remaining                9 months
                                                                                     KLG New York LLC
              List the contract number of any                                        580 Fifth Avenue, Suite 500
                    government contract                                              New York, NY 10065


 2.3.         State what the contract or                  In-Store Security
              lease is for and the nature of              Services
              the debtor's interest

                  State the term remaining
                                                                                     Midtown Investigations
              List the contract number of any                                        44 Crown Avenue
                    government contract                                              Staten Island, NY 10312


 2.4.         State what the contract or                  Security Monitoring
              lease is for and the nature of              Services
              the debtor's interest

                  State the term remaining
                                                                                     Mutual Security
              List the contract number of any                                        10 W. 46th Street
                    government contract                                              New York, NY 10036




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
              20-10389-dsj                 Doc 2          Filed 02/10/20 Entered 02/10/20 16:26:12                   Main Document
                                                                       Pg 15 of 16
 Fill in this information to identify the case:

 Debtor name         de GRISOGONO U.S.A. Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                           Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.2                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.3                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.4                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                      Page 1 of 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
              20-10389-dsj                 Doc 2          Filed 02/10/20 Entered 02/10/20 16:26:12                           Main Document
                                                                       Pg 16 of 16




 Fill in this information to identify the case:

 Debtor name         de GRISOGONO U.S.A. Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          February 10, 2020                       X /s/ Keith Rosen
                                                                       Signature of individual signing on behalf of debtor

                                                                       Keith Rosen
                                                                       Printed name

                                                                       Authorized Signatory
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
